                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS,                            )
                                           )
                        Plaintiff,         )
      v.                                   )   No. 6:21-cv-00003
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

       DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES
        IN OPPOSITION TO PLAINTIFFS’ EMERGENCY APPLICATION
                FOR A TEMPORARY RESTRAINING ORDER
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                                         I.    INTRODUCTION

        Texas seeks extraordinary relief to enforce an invalid contract that illegitimately purports to

assign to the State the federal government’s plenary authority over immigration enforcement to states

and counties. The Department of Homeland Security (“DHS”) lacked authority to cede control over

federal immigration policy to Texas, and Texas has no power to demand specific performance of that

contract in the form of a nationwide temporary restraining order (“TRO”).

        The Executive Branch, and the Secretary of Homeland Security in particular, is vested with

broad prosecutorial discretion to enforce federal immigration law—including determining whether

and when to remove particular aliens. U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. § 1101 et seq.; see Arizona v.

United States, 567 U.S. 387, 395–97 (2012). On an emergency basis, Texas asks this Court to disregard

this Executive authority and to enjoin a new Administration from temporarily pausing removals while

it reviews DHS policies and priorities. Texas argues that, just 12 days before the transition to the

current Administration, DHS delegated to Texas, through a memorandum of understanding (“MOU”)

(ECF No. 2-1), the authority to stay any substantive change to federal immigration law enforcement

for 180 days if the State does not consent to the change. This Court should reject this attempt to

eviscerate the federal government’s plenary power with respect to immigration and should deny

Texas’s motion for a TRO.

        There are several additional defects in Texas’s emergency application, including (1) the

purported MOU’s invalidity and unenforceability; (2) the lack of a waiver of sovereign immunity to

seek specific performance of a contract, if one formed; (3) the non-reviewability of Plaintiff’s APA

claims, which also fail on the merits; (4) a lack of demonstrated standing; and (5) the absence of

irreparable harm warranting the extraordinary relief of a TRO. Finally, the balance of harms and the

public interest overwhelmingly favor denying the TRO.




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        Texas’s eleventh-hour effort to control and impede the new Administration’s immigration

policies should be rejected.

                                        II.    BACKGROUND

        The Supreme Court has held that “[t]he federal power to determine immigration policy is well

settled.” Arizona, 567 U.S. at 395 (noting how “[i]mmigration policy can affect trade, investment,

tourism, and diplomatic relations for the entire Nation, as well as the perceptions and expectations of

aliens in this country who seek the full protection of its laws”); see also U.S. Const. art. I, § 8, cl. 4.

Accordingly, the Secretary of Homeland Security has broad statutory authority to “establish such

regulations; . . . issue such instructions; and perform such other acts as he deems necessary for carrying

out his authority” under the immigration law. 8 U.S.C. § 1103(a)(3) (emphasis added). As applicable

to the pause on removals at issue here, this broad authority includes discretion for DHS not to remove

an individual who is otherwise subject to a removal order. See Arizona, 567 U.S. at 396 (“A principal

feature of the removal system is the broad discretion exercised by immigration officials.”); see also Reno

v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 484, (1999) (AADC) (recognizing longstanding

“discretion” of the Executive to “decline to execute a final order of deportation”).

        Pursuant to these authorities, Acting Secretary David Pekoske issued a Memorandum

providing a 100-day pause on removals of individuals who were in the United States prior to

November 1, 2020. See Pekoske Memo (ECF No. 2-2). The Acting Secretary issued the Memorandum

to facilitate agency review of “policies and practices” to address complex challenges, “including

operational challenges at the southwest border as it is confronting the most serious global public health

crisis in a century.” Id. at 1.

        Twelve days prior to the issuance of the Memorandum, the outgoing Administration entered

into the MOU at issue here. See MOU. Therein, outgoing senior officials stated that the agency would

“[c]onsult with Texas before taking any action or making any decision that could reduce immigration


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enforcement, increase the number of removable or inadmissible aliens in the United States, or increase

immigration benefits or eligibility for benefits for removable or inadmissible aliens.” MOU at 3

(emphasis added). According to the MOU, a “consultation” involves DHS providing: “180 days’

written notice” to Texas, “an opportunity [for Texas] to consult and comment on the proposed

action,” “consider[ation of] Texas’s input,” and “a detailed written explanation of the reasoning behind

any decision to reject Texas’s input before taking any action.” MOU at 3.

                                          III.    ARGUMENT

A.      Texas Cannot Demonstrate a Likelihood of Success on the Merits

        1. The MOU is Invalid, Unenforceable, and Cannot Be the Basis of Relief for Texas

        Texas has failed to establish that the MOU even meets two of the four essential elements to

constitute a valid contract with the federal government: authority and consideration. See Trauma Service

Group v. United States, 104 F.3d 1321, 1325 (Fed. Cir. 1997).

                a. The Previous Administration Purported to Enter into the MOU without Proper Authority

        Texas asserts that DHS contracted away the sovereign’s right to decide federal immigration

policy by imposing a 180-day stay on federal action, pending Texas’s response to that action. Such a

promise to abstain from taking a wide range of immigration-related actions until a State has exercised

a 180-day comment power lies beyond the power of contract. The federal government has plenary

power over the enforcement of federal immigration law and an outgoing administration cannot

contract away that power for an incoming administration. See Biodiversity Assocs. v. Cables, 357 F.3d

1152, 1172 (10th Cir. 2004) (“The executive branch does not have authority to contract away the

enumerated constitutional powers of Congress or its own successors….”); see also United States Trust

Co. v. New Jersey, 431 U.S. 1, 23 (1977) (“[T]he Contract Clause does not require a State to adhere to a

contract that surrenders an essential attribute of its sovereignty”); Stone v. Mississippi, 101 U.S. 814, 817

(1880) (“[T]he legislature cannot bargain away the police power of a State.”).


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        Further, Texas fails to identify any permissible statutory authority that contemplates DHS

entering into a contract to grant states the power to delay and review agency policy decisions, and for

good reason. It runs afoul of the non-delegation doctrine. U.S. Telecom Ass’n v. F.C.C., 359 F.3d 554,

565 (D.C. Cir. 2004) (“subdelegations to outside parties are assumed to be improper absent an

affirmative showing of congressional authorization’). Indeed, all applicable statutes preserve federal

prerogatives. For example, the Homeland Security Act vests the Secretary with responsibility for all

functions of the Department, and provides that she may delegate those functions only to “any officer,

employee, or organizational unit of the Department.” 6 U.S.C. § 112(b)(1). Delegations of functions

to Texas, to include the power to delay DHS policies related to enforcement of federal immigration

law, as the purported contract appears to provide by vesting Texas with a 180-day period to comment

before an agency decision takes effect, violate this statutory limitation. The INA sets forth numerous

provisions governing federal-state relations with respect to the immigration laws, see, e.g., 8 U.S.C.

§§ 1103(a)(10), 1257(g), but none contemplates such extraordinary MOUs. Had Congress intended

to authorize such extraordinary agreements, it certainly would have done so expressly with

unmistakable clarity. See, e.g., Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001). The MOU is

therefore unauthorized by statute.

        Moreover, an agency cannot use its contracting authority to circumvent the constraints of the

Administrative Procedure Act (APA) by constraining the agency from making future changes to

immigration policy. Any such constraint would be a legislative rule that binds an agency, and would

be subject to the requirements of the APA. See, e.g., Davidson v. Glickman, 169 F.3d 996, 999 (5th Cir.

1999). Indeed, even in the context of settlement, the Attorney General’s settlement powers are limited

when it comes to limiting the exercise of agency discretion. See Auth. of the United States to Enter

Settlements Limiting the Future Exercise of Exec. Branch Discretion, 23 U.S. Op. Off. Legal Counsel

126 (1999); see also Conservation Nw. v. Sherman, 715 F.3d 1181, 1187 (9th Cir. 2013).


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                 b. Texas Did Not Provide Requisite Consideration for the MOU.

        The contract is also invalid because Texas did not provide any consideration in exchange for

its asserted control over federal immigration policy. Here, the purported agreement appears to require

DHS to consult with Texas before “taking any action, adopting or modifying a policy or procedure,

or making any decision” that could affect various aspects of immigration enforcement, Exhibit A, at

2–3, and provides Texas with 180 days to comment on any proposed change. Id. at 3. In exchange for

this opportunity to comment, and to delay Federal policy changes, Texas agrees only to “[s]upport

DHS’s immigration enforcement by honoring “detainer requests” or “requests to hold” issued to

Texas by ICE or CBP, and honoring DHS requests for records or information from the Texas

Department of Motor Vehicles.” Exhibit A at 4. But Texas does not claim that it had to begin

performing these tasks due to the MOU. See, e.g., City of El Cenizo v. Texas, 890 F.3d 164, 173 (5th Cir.

2018). Accordingly, Texas has failed to provide the United States with any consideration for the

promises extracted in this agreement. Estate of Bogley v. Unites States, 514 F.2d 1027, 1033 (Ct. Cl. 1975)

(“a promise to do what one is required by law or contract to do is not a valuable consideration”).

            c.   This Court Cannot Order Specific Performance of the MOU’s Terms

        Texas’s claim for injunctive relief based on the MOU also fails because the United States has

not waived sovereign immunity for such claims. A waiver of sovereign immunity must be enacted by

statute, must be strictly construed in the Government’s favor and must unambiguously extend to the

type of relief sought. Lane v. Pena, 518 U.S. 187, 192 (1996). Circuit courts have consistently recognized

that the United States has not waived sovereign immunity for contract claims seeking specific

performance. See generally Gonzales & Gonzales Bonds & Ins. Agency, Inc. v. Dep’t of Homeland Sec., 490

F.3d 940, 945 (Fed. Cir. 2007); Ala. Rural Fire Ins. Co. v. Naylor, 530 F.2d 1221, 1229–30 (5th Cir. 1976);

see also United States v. Jones, 131 U.S. 1, 18 (1889) (Tucker Act did not authorize specific performance

against the federal government).


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        Monetary damages are the only relief available for any breach of contract by the federal

government because government officials must always have the discretion to breach if the public

interest so requires. For example, the Supreme Court has recognized that, even in the case of powerful

exclusive property interests like patents, a patent owner who thinks the government has infringed his

patent can sue for just compensation but not for an injunction, even though injunctions are the usual

remedy for infringement in the private sector. See Return Mail, Inc. v. U.S. Postal Serv., 139 S. Ct. 1853,

1859 (2019). The government must always have the discretion, even in the patent context, to infringe

and pay compensation (i.e., to “take” a license for public use). At the very minimum, the new

Administration should have that prerogative here (even assuming dubitante that this contract is valid).

        Texas cannot rely on the APA to circumvent this basic principle. For agency action to be

subject to APA review, there must be “no other adequate remedy in a court.” 5 U.S.C. § 704. Here, to

the extent the MOU is enforceable at all, the Tucker Act supplies the proper remedy in the Court of

Federal Claims. See Suburban Mortg. Assocs., Inc. v. U.S. Dep't of Hous. & Urban Dev., 480 F.3d 1116, 1128

(Fed. Cir. 2007). At most, if there were a valid contract, Texas might possess a contract claim for

money damages. Such a claim is consistent with federal case law that “damages are always the default

remedy for breach of contract.” Sanders v. United States, 252 F.3d 1329, 1334 (Fed. Cir. 2001) (quoting

United States v. Winstar Corp., 518 U.S. 839, 885 (1996) (plurality opinion)); accord Holmes v. United States,

657 F.3d 1303, 1314 (Fed. Cir. 2011).

        Moreover, notwithstanding representations to the contrary, see Mot. 4, Texas is capable of

tracking any incurred costs resulting from any alleged breach and may seek to recover those costs in

an appropriate forum, at an appropriate time, assuming it has a valid claim. See Mot. 16–17.




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            2. Texas’s APA Claims Lack Merit.

        Texas also advances two APA claims, urging that the Memorandum (1) violates 8 U.S.C.

§ 1231 by not requiring DHS to remove individuals within the 90-day removal period, and (2) was

arbitrary and capricious. Mot. at 9–13. These claims are meritless.

                a.      Texas’s APA Claims Are Not Subject to Judicial Review.

        First, Texas’s APA claims are precluded by 5 U.S.C. § 701. Congress has precluded judicial

review of “any cause or claim by or on behalf of any alien arising from the decision or action … to

commence proceedings, adjudicate cases, or execute removal orders against any alien under this

chapter.” 8 U.S.C. § 1252(g). “Section 1252(g) was directed against a particular evil: attempts to

impose judicial constraints upon prosecutorial discretion.” AADC, 525 U.S. at 485 n.9; Texas v. United

States, 809 F.3d 134, 165 (5th Cir. 2015), as revised (Nov. 25, 2015) (§ 1252(g) “codified the Secretary’s

discretion to decline ‘the initiation or prosecution of various stages in the deportation process”).

Further, § 1252(f) provides that only the Supreme Court has authority to enjoin operation of 8 U.S.C.

§§ 1221–1232, other than cases brought by individuals. 8 U.S.C. § 1252(f); see Hamama v. Adducci, 946

F.3d 875, 877–78 (6th Cir. 2020); Hamama v. Adducci, 912 F.3d 869, 877–80 (6th Cir. 2018)

        Texas’s claims also fail because the decision to place a pause on certain removals is a classic

exercise of prosecutorial discretion committed to agency discretion. See Heckler v. Chaney, 470 U.S. 821,

832 (1985) (holding that an agency’s decision not to exercise its enforcement authority, or to exercise

it in a particular way, is “presumed” to be “immune from judicial review under § 701(a)(2)” of the

APA); 5 U.S.C. § 701(a)(2) (no APA review for actions committed to agency discretion). Through the

INA, Congress has authorized the Secretary to “establish such regulations; . . . issue such instructions;

and perform such other acts as he deems necessary for carrying out his authority” under the statute. 8

U.S.C. § 1103(a)(3) (emphasis added); see also id. § 1103(a)(1); Texas, 106 F.3d at 667 (5th Cir. 1997)

(“[S]ection 1103 places no substantive limits on the Attorney General and commits enforcement of


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the INA to her discretion.”). Under Heckler and its progeny, Texas’s challenge to the pause on

removals is not judicially reviewable.

        Texas suggests that § 701(a)(2) does not apply to 8 U.S.C. § 1231 because of the statute’s use

of the word “shall.” Mot. at 10. But the Supreme Court has rejected the argument that a putatively

mandatory statutory obligation alters an agency’s unreviewable prosecutorial discretion. Town of Castle

Rock, Colo. v. Gonzales, 545 U.S. 748, 764–65 (2005) (even mandatory statutory scheme does not give

“an entitlement to enforcement of the mandate”); see also Chaney, 470 U.S. at 835 (finding the language of

the statute “permissive” in the exercise of prosecutorial discretion notwithstanding that the statutory

scheme included the word “shall”). Although Texas cites two cases in which the Supreme Court found

the use of word “shall” to be mandatory in the context of those cases, Mot. at 10, neither involved

prosecutorial discretion or 5 U.S.C. § 701(a)(2). In any event, § 1231 itself recognizes that there will

be instances where aliens are not removed within 90 days. See 8 U.S.C. § 1231(a)(1)(C) (“The removal

period shall be extended beyond a period of 90 days . . .”); id. § 1231(a)(3) (“Supervision after 90-day

period. If the alien does not leave or is not removed within the removal period, the alien, pending

removal, shall be subject to supervision . . .”); Zadvydas v. Davis, 533 U.S. 678, 701 (2001) (“While an

argument can be made for confining any presumption to 90 days, we doubt that when Congress

shortened the removal period to 90 days in 1996 it believed that all reasonably foreseeable removals

could be accomplished in that time.”). So too, DHS regulations allow for “a stay of removal or

deportation” to “an alien under a final order of deportation or removal.” 8 C.F.R. § 241.6.

                b. The Acting Secretary’s Memorandum is Not Final Agency Action.

        Even if Texas’s claims were not subject to the bar of § 701, they would fail because the

memorandum is not a final agency action. See 5 U.S.C. § 704. No rights or obligations have been

determined, nor do “direct and appreciable legal consequences” flow from the Memorandum. See U.S.

Army Corps of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1813–14 (2016) (requiring that for an action to be


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final, “the action must be one by which rights or obligations have been determined, or from which

legal consequences will flow”). Rather, by its very essence, the Memorandum reflects the

Administration’s effort to conduct a “review of policies and practices” before deciding how to proceed.

Pekoske Memo at 1. The Memorandum thus merely maintains the status quo for individuals who have

been in the United States since before to November 1, 2020, and, inter alia, who do not pose a threat

to national security. Id. at 2–3. Whether these individuals will be removed will be determined at a later

date. Accordingly, even putting aside the other nonreviewability arguments, the agency’s actions

cannot be subject to review until, at the very least, legal consequences actually flow from the agency’s

internal review of how to proceed with immigration enforcement.

            c.   The Acting Secretary Has Not Violated 8 U.S.C. § 1231 or Acted Arbitrarily or Capriciously.

        Neither of Texas’s APA claims has merit. See Mot. 9–13. Nor should the Court countenance

Texas’s request for a stay of the Memorandum under 5 U.S.C. § 705. Even if it was applicable,

notwithstanding that the100-day pause went into effect on January, 22, 2021, Texas admits the burden

for a § 705 stay tracks that of a TRO, see Mot. at 19–20. Here, both APA claims misperceive

immigration law.

        First, contrary to Texas’ assertion, id. at 9–10, and as explained supra in Part III.2.a., 8 U.S.C.

§ 1231 does not mandate removal within the 90-day removal period. Rather, the statute contemplates,

and DHS’s own regulations allow for, a “grant a stay of removal or deportation” to “an alien under a

final order of deportation or removal.” 8 C.F.R. § 241.6; 8 U.S.C. § 1231(a)(1)(C) (extensions beyond

90 days); id. § 1231(a)(3) (post-90-day removal period supervision); see also Arizona, 567 U.S. at 396

(recognizing broad discretion provided to DHS regarding processing removals); AADC, 525 U.S. at

484. In any event, Congress explicitly provided in 8 U.S.C. § 1231 that: “Nothing in this section shall

be construed to create any substantive or procedural right or benefit that is legally enforceable by any

party against the United States or its agencies or officers or any other person.” 8 U.S.C. § 1231(h).


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Regardless, the Memorandum specifically provides that the pause does not apply to individuals for

whom DHS has determined “removal is required by law.” See Pekoske Memo at 3–4. Texas’s statutory

claim must be rejected.

        Second, Texas ignores the entire premise and language of the Memorandum in arguing that

DHS failed to consider relevant factors or provide reasoned decision-making. See Mot. at 10–13. In

fact, the Acting Secretary explained that the point of the pause was to allow for the new Administration

to “conduct a review of policies and practices concerning immigration enforcement”—particularly in

the context of unique circumstances such as “DHS’s limited resources,” the need to “provide

sufficient staff and resources to enhance border security,” and “compl[iance] with COVID-19

protocols.” Pekoske Memo at 1, 3. That review includes an opportunity for “each component [to]

develop recommendations to address aspects of immigration enforcement.” Id. at 2. The Acting

Secretary more than adequately explained the basis for the Memorandum. See Quantum Entm’t Ltd. v.

U.S. Dep’t of the Interior, Bureau of Indian Affairs, 597 F. Supp. 2d 146, 152 (D.D.C. 2009) (“Nothing

more than a ‘brief statement’ is necessary [under the APA], as long as the agency explains ‘why it chose

to do what it did.’”) (quoting Tourus Records, Inc. v. Drug Enforcement Admin., 259 F.3d 731, 737 (D.C.

Cir. 2001)); see also id. (“This requirement is not particularly demanding.”).

        Similarly, Texas’s argument that DHS failed to consider a more limited policy also fails. Mot.

at 12 (citing DHS v. Regents of the Univ. of California, 140 S. Ct. 1891, 1914 (2020)). DHS not only

considered but enacted a specifically limited interim policy. The Memorandum by its terms is limited

in both scope and time, and it exempts four classes of aliens from the pause on removal. Pekoske

Memo 3–4. Unlike in Regents, where the Government rescinded the DACA Memorandum in full

without considering a forbearance-only policy, DHS considered and enacted a limited alternative to a

full pause of removals that reflected the agency’s priorities. Other than repeating their

misunderstanding that immigration law requires removal of an unspecified category of individuals,


                                                   -10-
Texas does not identify any other less restrictive policy that DHS failed to consider. Regents does not

require more.

            3. Texas Fails to State an Independent Claim under the Take Care Clause.

        Texas cannot state a separate cause of action under the Take Care Clause, because the Take

Care Clause is not judicially enforceable. The Supreme Court has recognized that “the duty of the

President in the exercise of the power to see that the laws are faithfully executed” “is purely executive

and political,” and not subject to judicial direction. Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 499

(1867). Moreover, the Fifth Circuit has previously rejected a claim by Texas that a purported failure

to enforce immigration law constitutes an abdication of statutory duty. State of Tex. v. United States, 106

F.3d 661, 667 (5th Cir. 1997).

B.      Texas Cannot Establish Standing, Let Alone Irreparable Harm

        Texas has also failed to demonstrate that it will be harmed by the moratorium at all, let alone

irreparably. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). Nor has it shown any

significant harm that would arise during the few weeks it would take to resolve a motion for

preliminary injunction.

        As an initial matter, the Memorandum preserves the status quo by ensuring that individuals

who were in the United States prior to November 1, 2020, can remain in the United States while the

DHS reviews its policies and practices to allow for an orderly and just immigration system; the

Memorandum does not affect the Memorandum does not affect removals at the border for those who

entered the United States on or after November 1, 2020. See Pekoske Memo. By asking this Court to

enjoin the Memorandum, Texas is presumably seeking an order requiring DHS unspecified individuals

present in this country, thereby disrupting the status quo.

        Moreover, Texas’s allegations of fiscal harm mirror those that the Fifth Circuit found

insufficient to establish standing in Crane v. Johnson. See 783 F.3d 244, 252 (5th Cir. 2015). There,


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Mississippi claimed a general budgetary loss as a result of illegal immigration. Id. at 249. But Mississippi

failed to demonstrate costs incurred because of DACA. Id. at 252. Here, Texas does not even attempt

to connect costs to the 100-day pause in removals. See Compl. ¶ 5 (making only generalized fiscal claim

from a “higher number of illegal aliens in Texas”). As in Crane, Texas lacks standing here. And without

standing, Texas cannot demonstrate irreparable injury.

        Texas’s only evidence comes via recycled declarations from other litigation concerning other

immigration actions. See Mot. at 18. But that evidence fails to establish a “‘personal stake’ in the alleged

dispute” over the Memorandum, Raines v. Byrd, 521 U.S. 811, 819 (1997), because the two recycled

declarations do not even purport to connect the 100-day pause in removals with an increase in costs.

And even if Texas could demonstrate an increase in costs sufficient to confer standing, such monetary

harm would fail to constitute the requisite irreparable injury to support a TRO.

        Plaintiff’s reliance on Texas v. United States, 328 F. Supp. 3d 662, (S.D. Tex. 2018), is misplaced.

Mot. 16, 18. There, an expert opined that DACA would encourage over twenty percent of recipients

who would otherwise have left the country to remain in the United States. Texas, 328 F. Supp. 3d at

702–03. The district court believed that evidence distinguished the case from Crane. Here, plaintiffs

have made no such showing. Indeed, in the DAPA case, the Fifth Circuit specifically contrasted

Texas’s driver’s license expenses at issue in that case with the general financial grievances advanced by

Mississippi in Crane. Texas, 809 F.3d at 150 n.24, 157–58. There is no such specificity in the present

matter. Crane controls.

        Finally, Texas cannot rely on the MOU as a basis for standing. Injury is a jurisdictional

requirement, which must be established as a matter of fact; standing cannot be manufactured via ipse

dixit. See United States v. Johnson, 319 U.S. 302, 304–05 (1943). Regardless, Texas identifies no injury that

arises from any decision by DHS not to consult as laid out in the MOU, other than, as in Crane, an

alleged grievance about budgetary concerns. Compl. ¶ 5.


                                                    -12-
C.      A Temporary Restraining Order Would Harm Defendants and the Public Interest

        Finally, Texas has failed to demonstrate that the threatened irreparable injury outweighs the

threatened harm that the injunction would cause Defendants and the public interest, and that granting

the injunction would not “be adverse to public interest.” Star Satellite, Inc. v. City of Biloxi, 779 F.2d

1074, 1079 (5th Cir. 1986). Courts should “pay particular regard for the public consequences in

employing the extraordinary remedy of injunction.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312–13

(1982) (citation omitted). Here, the balance of the equities and the public interest weigh

overwhelmingly against Texas and its unsupported request for a temporary restraining order. Texas’s

claimed MOU-based interest in delay, presented without any showing of harm to Texas, pales in

comparison to the public interest in, inter alia, measured and considered assessments of immigration

policies by an incoming Administration.

        At its core, Texas’s extraordinary request for injunctive relief would undermine 230 years of

federal immigration law repeatedly reaffirmed by the Supreme Court. The Acting Secretary issued the

Memorandum in an effort for the new Administration to review “policies and practices” to address

complex challenges in light of limited resources, “including operational challenges at the southwest

border as it is confronting the most serious global public health crisis in a century.” See Pekoske Memo

at 1 (“In light of those unique circumstances, the Department must surge resources to the border in

order to ensure safe, legal and orderly processing, to rebuild fair and effective asylum procedures that

respect human rights and due process, to adopt appropriate public health guidelines and protocols,

and to prioritize responding to threats to national security, public safety, and border security.”). Rather

than allowing the new Administration to confront those challenges, an injunction here would disrupt

the Administration’s careful calibration of how to conduct a necessary review. An “agency to which

Congress has delegated policy-making responsibilities may, within the limits of that delegation,




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properly rely upon the incumbent administration’s views of wise policy to inform its judgments.”

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 865 (1984).

        Further, Texas’s demand has serious consequences on third parties not before the Court.

Texas insists that DHS resume removals, meaning individuals not before the Court would be removed

from this country before the new Administration assesses whether such removal is consistent with its

immigration priorities. The Supreme Court has recognized the humanitarian component of

immigration enforcement, and the government should be able to make this assessment before

executing removal orders. Imposing a requirement to carry out removals without regard to this

assessment squarely contradicts the immigration system whereby the political branches are charged

with exercising this authority. See Arizona, 567 U.S. at 396 (“Discretion in the enforcement of

immigration law embraces immediate human concerns.”).

        This Court should reject Texas’s efforts to make its manufactured delay-for-comment interests

supreme, while ignoring the disruptive effect it seeks to impose on both the federal government and

third parties.

D.      Any Injunction Should Be Narrowly Drawn

        Any injunctive relief, if granted, should be limited to Texas. Nationwide relief that would affect

those who are not parties to this case would exceed this Court’s authority under Article III and violate

longstanding equitable doctrine. “Article III of the Constitution limits the exercise of the judicial

power to ‘Cases’ and ‘Controversies.’” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017)

(citation omitted). A federal court may entertain a suit only by a plaintiff who has suffered a concrete

“injury in fact,” and the court may grant relief only to remedy “the inadequacy that produced [the

plaintiff ’s] injury.” Gill v. Whitford, 138 S. Ct. 1916, 1930 (2018) (citations omitted). Neither standing

nor remedies are “dispensed in gross.” Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996).




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        Equitable principles similarly require that an injunction “be no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s Health Ctr.,

Inc., 512 U.S. 753, 765 (1994) (citation omitted); see also DHS v. New York, No. 19A785, 2020 WL

413786, at *1 (U.S. Jan. 27, 2020) (Gorsuch, J., concurring) (criticizing “increasingly common practice

of trial courts ordering relief that transcends the cases before them” as “flaw[ed]” because “they direct

how the defendant must act toward persons who are not parties to the case”); Trump v. Hawaii, 138 S.

Ct. 2392, 2429 (2018) (Thomas, J., concurring) (nationwide injunctions “are legally and historically

dubious”).

                                       IV.     CONCLUSION

        This Court should deny Plaintiff’s emergency application for a temporary restraining order.


Dated: January 24, 2021                         Respectfully submitted,

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                                    Certificate of Word Count

       Undersigned counsel certifies that the total number of words in Defendants’ Memorandum,

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                                                       /s/ Adam D. Kirschner
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